         Case 1:15-cv-09323-LGS Document 129 Filed 07/24/17 Page 1 of 5




                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK
                                                                           USDC SDNY
------------------------------               x
                                                                           DOCUMENT
AXIOM INVESTMENT ADVISORS                    :
                                                                           ELECTRONICALLY FILED
LLC, by and through its Trustee, Gildor      :
                                                                           DOC #:
Management LLC,                              :
                                                                           DATE FILED: 7/24/2017
                                             :
                          Plaintiff,         :   No. 15-cv-9323-LGS
                   v.                        :
                                             :
BARCLAYS BANK PLC and                        :
BARCLAYS CAPITAL INC.                        :
                                             :
                  Defendants.
------------------------------ x

  [PROPOSED] ORDER AWARDING ATTORNEYS’ FEES, REIMBURSEMENT OF
              LITIGATION EXPENSES, AND SERVICE AWARD

       WHEREAS, a class action is pending in this Court entitled Axiom Investment Advisors,

LLC, by and through its Trustee, Gildor Management LLC v. Barclays Bank PLC, et al., No. 15-

cv-9323-LGS (the “Action”);

       WHEREAS, Plaintiff Axiom Investment Advisors, LLC, by and through its Trustee,

Gildor Management LLC (“Plaintiff”) and Defendants Barclays Bank PLC and Barclays Capital

Inc. (“Barclays,” and together with Plaintiff, the “Parties”) have entered into a Settlement as set

forth in the Stipulation and Amended Agreement of Settlement with Barclays Bank PLC and

Barclays Capital Inc., dated April 20, 2016 (ECF No. 64-1) (the “Settlement Agreement”), which

provides for a complete dismissal with prejudice of the claims asserted against Barclays in the

Action on the terms and conditions set forth in the Settlement Agreement, subject to the approval

of this Court;

       WHEREAS, unless otherwise defined in this Order Awarding Attorneys’ Fees,

Reimbursement of Litigation Expenses, and Service Award (the “Order”), the capitalized terms

herein shall have the same meaning as they have in the Settlement Agreement;
         Case 1:15-cv-09323-LGS Document 129 Filed 07/24/17 Page 2 of 5




       WHEREAS, by Orders dated April 21, 2016 (the “Preliminary Approval Order”) and

November 17, 2016 (the “Notice Order”), this Court (a) preliminarily approved the Settlement and

Plan of Distribution; (b) preliminarily certified the Settlement Class; (c) ordered that notice of the

proposed Settlement be provided to Members of the Settlement Class; (d) provided Members of

the Settlement Class with the opportunity either to exclude themselves from the Settlement Class

or to object to the proposed Settlement; (e) designated Christopher M. Burke and George Zelcs as

settlement class counsel for the Settlement Class (“Class Counsel”) and Plaintiff as class

representative of the Settlement Class; and (f) scheduled a hearing regarding final approval of the

Settlement on July 18, 2017;

       WHEREAS, due and adequate notice has been given to the Settlement Class;

       WHEREAS, the Court conducted a hearing on July 18, 2017 (the “Fairness Hearing”) to

consider, among other things, Plaintiff’s Counsel’s Motion for Attorneys’ Fees and

Reimbursement of Expenses, including a service award for Plaintiff; and

       WHEREAS, the Court having reviewed and considered the Plaintiff’s Counsel’s Motion

for Attorneys’ Fees and Reimbursement of Expenses, including a service award for Plaintiff, all

papers filed and proceedings held herein in connection with the Motion, all oral and written

comments received regarding the Motion, and the record in the Action, and good cause appearing

therefore,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

       1.      Jurisdiction – This Court has jurisdiction over the subject matter of the Action and

all matters relating to the Settlement, as well as personal jurisdiction over all Parties and each of

the Settlement Class Members.




                                                  2
         Case 1:15-cv-09323-LGS Document 129 Filed 07/24/17 Page 3 of 5




        2.      Notice – Notice of Plaintiff’s Counsel’s motion for an award of attorneys’ fees,

reimbursement of expenses, and a service award for Plaintiff was given to all Settlement Class

Members who or that could be identified with reasonable effort. The form and method of notifying

the Settlement Class of the motion for an award of attorneys’ fees, reimbursement of expenses,

and a service award for Plaintiff satisfied the requirements of Rule 23 of the Federal Rules of Civil

Procedure and the United States Constitution (including the Due Process Clause); constituted the

best notice practicable under the circumstances; and constituted due, adequate, and sufficient

notice to all persons and entities entitled thereto.

        3.      Attorneys’ Fees and Reimbursement of Expenses – Class Counsel are hereby

awarded attorneys’ fees in the amount of 17.5 percent of the Settlement Fund before interest and

dividends, or $8,750,000 and $339,292.64 in reimbursement of Plaintiff’s Counsel’s litigation

expenses, which fees and expenses shall be paid from the Settlement Fund pursuant to the terms

of the Settlement Agreement. Class Counsel shall allocate the attorneys’ fees awarded among

Plaintiff’s Counsel in a matter that they, in good faith, believe reflects the contributions of such

counsel to the institution, prosecution, and settlement of the Action.

        4.      In making this award of attorneys’ fees and reimbursement of expenses to be paid

from the Settlement Fund, the Court has considered and found that:

                a.      The Settlement has created a fund of $50,000,000 in cash that has been

funded into escrow pursuant to the terms of the Settlement Agreement, and that numerous

Settlement Class Members who or that submit acceptable Claim Forms will benefit from the

Settlement that occurred because of the efforts of Plaintiff’s Counsel;

                b.      Copies of the Notice were mailed to 1,373 potential Settlement Class

Members, stating that Plaintiff’s Counsel would apply for attorneys’ fees in an amount not to


                                                   3
         Case 1:15-cv-09323-LGS Document 129 Filed 07/24/17 Page 4 of 5




exceed 17.5% of the Settlement Fund, reimbursement of litigation costs, and a service award for

Plaintiff not to exceed $25,000;

               c.      Plaintiff and Plaintiff’s Counsel have conducted the litigation and achieved

the Settlement with skill, perseverance and diligent advocacy;

               d.      The Action raised a number of complex issues;

               e.      Had Plaintiff’s Counsel not achieved the Settlement, there would remain a

significant risk that Plaintiff and other members of the Settlement Class may have recovered less

or nothing from Barclays;

               f.      Plaintiff’s Counsel worked over 5,100 hours, with a lodestar value of

approximately $3,484,108.14 to achieve the Settlement, and estimate a total lodestar over $4

million after including time worked from the filing of the fee application until the filing of the

distribution motion;

               g.      The attorneys’ fees and expenses to be paid from the Settlement Fund are

fair and reasonable in view of the applicable legal principles and the particular facts and

circumstances of the Action; and

               h.      There were no objections to the requested attorneys’ fees and expenses.

       5.      Service Award – Plaintiff is hereby awarded $10,000 from the Settlement Fund,

which sum is fair and reasonable, in view of the applicable legal principles and the particular facts

and circumstances of the Action. Class Counsel may pay the sum from the Settlement Fund

pursuant to the terms of the Settlement Agreement.

       6.      Retention of Jurisdiction – Without affecting the finality of this Order in any way,

this Court hereby retains continuing jurisdiction over the Parties and the Settlement Class Members




                                                 4
         Case 1:15-cv-09323-LGS Document 129 Filed 07/24/17 Page 5 of 5




for all matters relating to this Action, including the administration, interpretation, effectuation, or

enforcement of this Order.

       7.      Disbursement of Fee Award and Expenses – A partial payment of the fee award

equal to $4 million and the entire amount of expenses authorized for payment may be disbursed

as provided in the Settlement Agreement. The remainder of the fee award shall be disbursed no

earlier than the date when at least 90% of the net settlement fund has been paid to class members.

       8.      Entry of Order – There is no just reason for delay in the entry of this Order, and

immediate entry by the Clerk of the Court is expressly directed.

       The Clerk of Court is directed to close the motion at Docket No. 106.



       IT IS SO ORDERED.


DATED: July 24, 2017
       New York, New York




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